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   EXHIBIT A
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                                                                                            District Policies



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                                                         District Policy
         To Regulation                                   5756 - TRANSGENDER STUDENTS

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                                                         Date Created: October 2014
                                                         Date Edited: May 2019
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                                                         The Board of Education is committed to providing a safe, supportive, and inclusive learning environment for
                                                         all students. The New Jersey Law Against Discrimination (NJLAD), N.J.S.A. 10:5-12(11)(f), generally makes
                                                         it unlawful for schools to subject individuals to differential treatment based on gender identity or expression.
                                                         Title IX of the Education Amendments of 1972 (“Title IX”) specifically prohibits discrimination on the basis
                                                         of sex in Federally-funded education programs and activities [20 U.S.C. § 1681(a)].
                                                         N.J.S.A. 18A:36-41 directs the Commissioner of Education to establish guidelines outlined in this Policy to
                                                         provide direction for schools in addressing common issues concerning the needs of transgender students, and
                                                         to assist schools in establishing policies and procedures that ensure a supportive and nondiscriminatory
                                                         environment for transgender students.

                                                         Definitions/Terms
                                                         A safe and supportive environment within a school begins with understanding and respect. The Board believes
                                                         students, teachers, and administrators should be provided with common terminology associated with gender
                                                         identity. The terms listed below are commonly used by advocacy and human rights groups, however students
                                                         may prefer other terms to describe their gender identity, appearance, or behavior. It is recommended school
                                                         personnel discuss with the student the terminology and pronouns each student has chosen.
                                                         “Gender identity” means a person’s internal, deeply held sense of gender. All people have a gender identity,
                                                         not just transgender people. For transgender people, the individual’s internal gender identity is not the same as
                                                         the gender assigned at birth.
                                                         “Gender expression” means external manifestations of gender, expressed through a person’s name, pronouns,
                                                         clothing, haircut, behavior, voice, and/or body characteristics. Society identifies these cues as masculine and
                                                         feminine, although what is considered masculine or feminine changes over time and varies by culture.
                                                         “Assigned sex at birth (ASAB)” refers to the biological sex designation recorded on a person’s birth certificate
                                                         upon the initial issuance of that certificate, should such a record be provided at birth.
                                                         “Gender assigned at birth” refers to the gender a child is assigned at birth or assumed to be, based on their
                                                         biological sex assigned at birth.
                                                         “Sexual orientation” describes a person’s enduring physical, romantic, and/or emotional attraction to another
                                                         person. Gender identity and sexual orientation are not the same. A transgender person may be straight,
                                                         lesbian, gay, bisexual, or asexual. For example, a person who transitions from male to female and is attracted
                                                         solely to men may identify as a straight woman.
                                                         “Transgender” is a term for an individual whose gender identity and/or gender expression differs from those
                                                         typically associated with the sex and gender assigned at birth.
                                                         “Transition” is the process by which a transgender person recognizes that their authentic gender identity is not
                                                         the same as the gender assigned at birth, and develops a more affirming gender expression that feels authentic.
                                                         Some individuals socially transition, for example, through dress, use of names and/or pronouns. Some
                                                         individuals may undergo physical transition, which might include hormone treatments and surgery. School
                                                         district personnel should avoid the phrase “sex change,” as it is an inaccurate description of the transition
                                                         process; the process is more accurately described as “gender-confirming.”
                                                         “LGBTQ” is an acronym for “lesbian, gay, bisexual, transgender, and queer/questioning.”
                                                         “Gender nonconforming” describes a person whose gender expression does not conform to the gender
                                                         expectations of their family or community. Gender nonconformity is not necessarily an indication that a youth
                                                         is transgender; many non-transgender youth do not conform to stereotypical expectations.
                                                         “Gender expansive, Gender diverse, Gender fluid, Gender non-binary, A gender, Gender queer” are terms that
                                                         convey a wider, more flexible range of gender identity and/or expression than typically associated with the
                                                         binary gender system. For example, students who identify as gender queer or gender fluid might not identify
                                                         as boys or girls; for these students, the non-binary gender identity functions as the student’s gender identity.
                                                         “Cisgender” refers to individuals whose gender identity, expression, or behavior conforms with those typically
                                                         associated with their sex assigned at birth.
                                                         Student-Centered Approach
                                                         The school district shall accept a student’s asserted gender identity; parental consent is not required. A student
                                                         need not meet any threshold diagnosis or treatment requirements to have his or her gender identity recognized
                                                         and respected by the school district, school, or school staff members. In addition, a legal or court-ordered
                                                         name change is not required. There is no affirmative duty for any school district staff member to notify a
                                                         student’s parent of the student’s gender identity or expression.

                                                         There may be instances where a parent of a minor student disagrees with the student regarding the name and
                                                         pronoun to be used at school and in the student’s education records. In the event a parent objects to the minor
                                                         student’s name change request, the Superintendent or designee should consult the Board Attorney regarding
                                                         the minor student’s civil rights and protections under the NJLAD. School staff members should continue to
                                                         refer to the student in accordance with the student’s chosen name and pronoun at school and may consider
                                                         providing resource information regarding family counseling and support services outside of the school district.




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                                                      School districts should be mindful of disputes between minor students and parents concerning the student’s
                                                      gender identity or expression. Many support resources are available through advocacy groups and resources
                                                      from the New Jersey Department of Children and Families and New Jersey Department of Education’s “Child
                                                      Abuse, Neglect, and Missing Children” webpage.
                                                         The Principal or designee should have an open, but confidential discussion with the student to ascertain the
                                                         student’s preference on matters such as chosen name, chosen pronoun to use, and parental communications. A
                                                         transgender student shall be addressed at school by the name and pronoun chosen by the student, regardless of
                                                         whether a legal name change or change in official school records has occurred. The school shall issue school
                                                         documentation for a transgender student, such as student identification cards, in the name chosen by the
                                                         student. A transgender student shall be allowed to dress in accordance with the student’s gender identity.
                                                         The Principal or designee should also discuss with the student, and any other individuals at the student’s
                                                         request, the risks associated with the student’s transgender status being inadvertently disclosed. For example,
                                                         the Principal or designee should inform the student the transgender status may be revealed due to other
                                                         students’ discussions at home. The Principal or designee should work with the transgender student to ensure
                                                         awareness of activities and events that may inadvertently disclose the transgender student’s status.

                                                         Safe and Supportive Environment
                                                         The Board developed and adopted this Policy to ensure that its schools provide a safe and supportive learning
                                                         environment that is free from discrimination and harassment for transgender students, including students going
                                                         through a gender transition. Gender-based policies, rules, and practices can have the effect of marginalizing,
                                                         stigmatizing, and excluding students, whether they are gender nonconforming or not.
                                                         The Superintendent or designee shall review and update existing policies and procedures, including those
                                                         regarding classroom activities, school ceremonies, school photographs, and dress codes, to verify transgender
                                                         students are not excluded. In addition, the school district shall take the following steps to establish and
                                                         maintain a nondiscriminatory environment for all students, including transgender and transitioning students:

                                                                  •          The school district must comply with N.J.S.A. 18A:37-15 and N.J.A.C. 6A:16-7.7, which
                                                                            prohibit harassment, intimidation, and bullying. The Board is required to develop, adopt, and
                                                                            implement a Policy in accordance with N.J.S.A. 18A:37-15 and N.J.A.C. 6A:16-7.7 that
                                                                            prohibits harassment, intimidation, or bullying on school property, at a school-sponsored
                                                                            function, or on a school bus. If harassment, intimidation, or bullying based on gender identity
                                                                            creates a hostile environment, the school must take prompt and effective steps to end the
                                                                            harassment, intimidation, or bullying, prevent its recurrence, and, as appropriate, remedy its
                                                                            effects.

                                                                  •         The Superintendent or designee should ensure training is provided to school staff members on
                                                                            sensitivity and respect towards transgender students.
                                                                  •         Social and Emotional Learning (SEL) concepts should be incorporated into school culture and
                                                                            curricula.
                                                                  •          The school district may seek a variety of professionals, including counselors and school
                                                                            psychologists, to provide emotional supports for all students who demonstrate a need. The
                                                                            Superintendent or designee shall ensure school counselors are knowledgeable regarding issues
                                                                            and concerns relevant to transgender students, students facing other gender identity issues, or
                                                                            students who may be transitioning.

                                                                  •          Student dress codes should not be enforced more strictly for transgender and gender
                                                                            nonconforming students than for other students.
                                                                  •         The school district shall honor and recognize a student’s asserted gender identity, and shall not
                                                                            require any documentation or evidence in any form, including diagnosis, treatment, or legal
                                                                            name change.
                                                                  •          A school’s obligation to ensure nondiscrimination on the basis of gender identity requires
                                                                            schools to provide transgender students equal access to educational programs and activities,
                                                                            even in circumstances in which other students, parents, or community members raise objections
                                                                            or concerns.

                                                         Confidentiality and Privacy
                                                         School staff members may not disclose information that may reveal a student’s transgender status except as
                                                         allowed by law. The Principal or designee is advised to work with the student to create an appropriate
                                                         confidentiality plan regarding the student’s transgender or transitioning status.

                                                         The school district shall keep confidential a current, new, or prospective student’s transgender status. Schools
                                                         should address the student using a chosen name and the student’s birth name should be kept confidential by
                                                         school and school staff members.

                                                         Due to a specific and compelling need, such as the health and safety of a student or an incident of bias-related
                                                         crime, the school district may be obligated to disclose a student’s status. In this event, the Principal or
                                                         designee should inform the student the school or school district intends to disclose the student’s transgender
                                                         status for the student’s protection and well-being. Prior to disclosure, the student should be given the
                                                         opportunity to personally disclose that information. The school district should make every effort to ensure any
                                                         disclosure is made in a way that reduces or eliminates the risk of re-disclosure and protects the transgender
                                                         student from further harassment. Those measures may include the facilitation of counseling for the student
                                                         and the student’s family to facilitate the family’s acceptance and support of the student’s transgender status.

                                                         During a harassment, intimidation, or bullying investigation the school district is obligated to develop a
                                                         procedure to report, verbally and in writing, an act of harassment, intimidation, and bullying committed by an
                                                         adult or youth against a student, pursuant to N.J.A.C. 6A:16-7.7(a)2viii. In this instance, the Principal or
                                                         designee should inform the student of the school’s obligation to report the findings of the harassment,
                                                         intimidation, and bullying investigation pursuant to N.J.S.A. 18A:37-15(d), which permits the parents of the
                                                         students who are parties to the investigation to receive information about the investigation in accordance with
                                                         Federal and State law and regulation. Under harassment, intimidation, and bullying legal requirements,
                                                         parents are entitled to know the nature of the investigation; whether the district found evidence of harassment,
                                                         intimidation, or bullying; or whether disciplinary action was imposed or services provided to address the
                                                         incident of harassment, intimidation, or bullying.


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                                                      The Principal or designee shall take into account the circumstances of the incident when providing notification
                                                      to parents of all students involved in the reported harassment, intimidation, or bullying incident and when
                                                      conveying the nature of the incident, including the actual or perceived protected category motivating the
                                                      alleged offense, pursuant to N.J.A.C. 6A:16-7.7(a)2viii(2).
                                                         Disclosure of personally identifiable information from a student’s education record to other school officials
                                                         within the school district, whom the school district has determined have a legitimate educational interest in the
                                                         information, may be permissible under Family Educational Rights and Privacy Act (FERPA) (34 C.F.R. §
                                                         99.31(a)(1)). The school district shall make a concerted effort to ensure school officials obtain access to only
                                                         those education records in which they have legitimate educational interests.

                                                         The school district shall comply with all laws and regulations regarding the confidentiality of student records
                                                         and student privacy, including the requirements set forth at 20 U.S.C. § 1232g, Family Educational Rights and
                                                         Privacy Act; 34 CFR Part 99, Family Educational Rights and Privacy; 20 U.S.C. § 1232h, Protection of Pupil
                                                         Rights; 34 CFR Part 98, Student Rights in Research, Experimental Programs, and Testing; P.L. 104-191,
                                                         Health Insurance Portability and Accountability Act; 45 CFR Part 160, General Administrative Requirements;
                                                         20 U.S.C. § 7917, Transfer of school disciplinary records; 42 CFR Part 2, Confidentiality of Alcohol and Drug
                                                         Abuse Patient Records; N.J.S.A. 18A:40A-7.1, Confidentiality of certain information provided by pupils,
                                                         exceptions; N.J.A.C. 6A:16-3.2, Confidentiality of student alcohol and other drug information; N.J.S.A.
                                                         18A:36-19, Pupil Records, creation, maintenance and retention, security and access, regulations, nonliability;
                                                         N.J.S.A. 2A:4A-60, Disclosure of juvenile information, penalties for disclosure; N.J.A.C. 6A:32-7, Student
                                                         Records; N.J.A.C. 6A:14-2.9, Student records; as well as all other existing Federal and State laws and rules
                                                         pertaining to student records and confidentiality.

                                                         School Records
                                                         If a student has expressed a preference to be called by a name other than their birth name, permanent student
                                                         records containing the student’s birth name should be kept in a separate, confidential file. This file should only
                                                         be shared with appropriate school staff members after consultation with a student. A separate file containing
                                                         records bearing the student’s chosen name may also be kept. If the student has previously been known at
                                                         school or in school records by a birth name, the Principal or designee should direct school staff members to use
                                                         the student’s chosen name and not the student’s birth name.

                                                         To ensure consistency among teachers, school administrators, substitute teachers, and other school staff
                                                         members, every effort should be made to immediately update student education records (for example,
                                                         attendance records, transcripts, Individualized Education Programs (IEP), etc.) with the student’s chosen name
                                                         and gender pronouns, consistent with the student’s gender identity and expression, and not circulate records
                                                         with the student’s birth name, unless directed by the student.

                                                                  •          The school district shall report to the New Jersey Department of Education (NJDOE) through
                                                                            NJ SMART a student’s name or gender based upon that student’s chosen name and
                                                                            corresponding gender identity. Changing the name or gender identity from what was reported
                                                                            in previous years will not affect the reliability of the data reported.

                                                                  •         If the school district changes a student’s name or gender identity, it must also maintain locally a
                                                                            separate record reflecting the student’s legal name and sex assigned at birth until receipt of
                                                                            documentation of a legal change of name or gender.

                                                         Activities
                                                         With respect to gender-segregated classes or athletic activities, including intramural and interscholastic
                                                         athletics, all students must be allowed to participate in a manner consistent with their gender identity.

                                                         The school district shall:
                                                                  •         Provide transgender students with the same opportunities to participate in physical education as
                                                                            other students in accordance with their gender identity;
                                                                  •         Permit a transgender student to participate in gender-segregated school activities in accordance
                                                                            with the student’s gender identity;

                                                                  •          Permit and support the formation of student clubs or programs regarding issues related to
                                                                            lesbian, gay, bisexual, transgender, and queer/questioning (LGBTQ) youth; and

                                                                  •         Offer support in the creation of peer led educational groups.
                                                         Use of Facilities

                                                         All students are entitled to have access to restrooms, locker rooms, and changing facilities in accordance with
                                                         their gender identity to allow for involvement in various school programs and activities.
                                                         In all cases, the Principal or designee must work with the student and school staff members so all parties are
                                                         aware of facility policies and understand the student may access the restroom, locker room, and changing
                                                         facility that corresponds to the student’s gender identity. While some transgender students will want this
                                                         arrangement, others may be uncomfortable with it. Transgender students who are uncomfortable using a sex-
                                                         segregated restroom should be provided with a safe and adequate alternative, such as a single “unisex”
                                                         restroom or the nurse’s restroom. Similarly, some transgender students may be uncomfortable using the
                                                         changing facilities that correspond to the student’s gender identity. Non-transgender students should also be
                                                         afforded the option to use a private facility, such as a unisex facility or the nurse’s restroom, should they feel
                                                         uncomfortable.

                                                                  •         The school district shall allow a transgender student to use a restroom or locker room based on
                                                                            the student’s gender identity.

                                                                  •         Reasonable alternative arrangements shall be made if needed to ensure a student’s safety and
                                                                            comfort. This direction for accommodations should come from the student.
                                                         The Superintendent or designee will make available to school staff members a variety of resources regarding
                                                         professional development opportunities as sourced by the NJDOE as well as developmentally appropriate
                                                         information for students regarding LGBTQ issues.

                                                         The Board adopts this Policy to help school and district administrators take steps to create an inclusive
                                                         environment in which transgender and gender nonconforming students feel safe and supported, and to ensure
                                                         each school provides equal educational opportunities for all students, in compliance with N.J.A.C. 6A:7-1.1 et
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                                                         N.J.S.A. 18A:36-41; 18A:37-15
                                                         N.J.A.C. 6A:7-1.1 et seq.; N.J.A.C. 6A:16-7.7
                                                         New Jersey Department of Education – October 2018
                                                         Transgender Student Guidance for School Districts



                                                         Adopted: 24 November 2014

                                                         Revised: 28 September 2015

                                                         Revised: 20 May 2019




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